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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


   JENNIFER WEIS, an individual,

                         Plaintiff,

   v.                                                      Case No. 3:16-cv-1367-J-34PDB

   ASHFORD TRS POOL A, LLC, and
   ASHFORD ATLANTIC BEACH, LP,

                         Defendants.

   _____________________________________/


                                      ORDER OF DISMISSAL

          THIS CAUSE is before the Court on the Joint Stipulation of Dismissal With

   Prejudice (Dkt. No. 22; Stipulation) filed on March 28, 2017. In the Stipulation, the parties

   request dismissal of this matter with prejudice. See Stipulation at 1. Accordingly, it is

   hereby

          ORDERED:

          1.     This case is DISMISSED with prejudice.

          2.     Each party shall bear their own attorney’s fees and costs.

          3.     The Clerk of the Court is directed to terminate all pending motions and close

                 the file.

          DONE AND ORDERED in Jacksonville, Florida this 29th day of March, 2017.
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   ja

   Copies to:

   Counsel of Record




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